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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                             :
Brent Watkins,                               :
                                             : Civil Action No.: ______
                    Plaintiff,               :
        v.                                   :
                                             :
Convergent Outsourcing, Inc.; and DOES 1-10, : COMPLAINT
inclusive,                                   :
                                             :
                    Defendants.              :
                                             :

                For this Complaint, the Plaintiff, Brent Watkins, by undersigned counsel, states as

follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), the Massachusetts Consumer

Protection Act, M.G.L. c. 93A § 2, et seq. (“MCPA”), and the Massachusetts Debt Collection

Regulations, 940 CMR § 7.00 et seq. (“MDCR”).

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Brent Watkins (“Plaintiff”), is an adult individual residing in

Danvers, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3) and

is a “debtor” as defined by 940 CMR § 7.03.
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       5.      Defendant Convergent Outsourcing, Inc. (“Convergent”), is a Washington

business entity with an address of 800 South West 39th Street, Renton, Washington 98055,

operating as a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. §

1692a(6) and is a “creditor” as defined by 940 CMR § 7.03.

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Convergent

and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may

be joined as parties once their identities are disclosed through discovery.

       7.      Convergent at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to an original

creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Convergent for collection, or

Convergent was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Convergent Engages in Harassment and Abusive Tactics

       12.     In or around November 2015, Convergent contacted Plaintiff in an attempt to

collect the Debt.

       13.     Convergent called Plaintiff from telephone number 617-603-1356.



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       14.     Convergent placed excessive collection calls to Plaintiff’s cellular phone of at

least four calls per week. For example, Convergent called Plaintiff on November 5th, 6th, 9th

and 10th of 2015.

       15.     When Plaintiff answered Convergent’s calls, he would hear music or a pause

before the call would drop off.

       16.     Convergent called Plaintiff again on November 13, 2015. Plaintiff returned the

call and spoke to a Convergent representative named Amul Jackson.

       17.     On the November 13, 2015 call, the initial debt collection communication with

Plaintiff, Convergent failed to disclose that Convergent was a debt collector attempting to collect

a debt and that any information obtained would be used for that purpose.

   C. Plaintiff Suffered Actual Damages

       18.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       19.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                  COUNT I
                 VIOLATIONS OF THE FDCPA - 15 U.S.C. § 1692, et seq.

       20.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.




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       22.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       23.     The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed

to inform the consumer that the communication was an attempt to collect a debt and that any

information obtained would be used for that purpose.

       24.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       25.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       26.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                        COUNT II
     VIOLATIONS OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
        M.G.L. c. 93A § 2, et seq. and MASSACHUSETTS DEBT COLLECTION
                        REGULATIONS, 940 CMR § 7.00 et seq.

       27.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       28.     The Defendants employed unfair or deceptive acts to collect the Debt, in violation

of M.G.L. c. 93A § 2.

       29.     The Defendants engaged the Plaintiff in communication via telephone, initiated

by the Defendant, in excess of two calls in each seven-day period at the Plaintiff’s residence and

two calls in each 30-day period other than at the Plaintiff's residence, for each debt, in violation

of 940 CMR § 7.04(1)(f).




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       30.     The Defendants’ failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and 940 CMR § 7.00 et seq. and, as such, the Plaintiff is

entitled to double or treble damages plus reasonable attorney’s fees.

       31.     On February 4, 2016, Plaintiff, through counsel, sent Defendant a written pre-suit

demand detailing his M.G.L. c. 93A § 9 claims. Plaintiff’s claim has not been resolved.

                                    PRAYER FOR RELIEF

               WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                      against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3) against Defendants;

                   4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                      c. 93A § 9(3);

                   5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

                   6. Actual damages from Defendants for the all damages including emotional

                      distress suffered as a result of the intentional, reckless, and/or negligent

                      FDCPA violations and intentional, reckless, and/or negligent invasions of

                      privacy in an amount to be determined at trial for the Plaintiff;

                   7. Punitive damages; and

                   8. Such other and further relief as may be just and proper.


                         TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: March 18, 2016

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                           Respectfully submitted,

                           By       /s/ Sergei Lemberg

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